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  UNITED STATES BANKRUPTCY COURT
  SOUTHERN DISTRICT OF NEW YORK
  ------------------------------------------------------X
                                                            Chapter 7
  In re:
                                                            Case No. 13-13016 (SMB)
  Rhinoceros Visual Effects and Design LLC,

                                     Debtor.

  ------------------------------------------------------X


                 SUPPLEMENTAL DECLARATION OF ANGELA J. SOMERS
                 REGARDING RETENTION OF REID COLLINS & TSAI LLP
                       AS SPECIAL COUNSEL TO THE TRUSTEE

           Angela J. Somers, being duly sworn, submits this verified statement pursuant to 28

 U.S.C. §1746 under penalty of perjury and states as follows:

           1.     I am a partner at the law firm of Reid Collins & Tsai LLP (“RCT” or the

 “Firm”), 810 Seventh Avenue, Suite 410, New York, New York 10019. I am a member in good

 standing of the Bar of the State of New York, and am admitted to practice in the Southern and

 Eastern District of New York and the Second Circuit and Third Circuit Court of Appeals.

           2.     I submit this supplement to my verified statement dated October 26, 2016

 pursuant to section 327 of title 11 of the United States Code (“Bankruptcy Code”), and Rule

 2014 of the Federal Rules of Bankruptcy Procedure (“Bankruptcy Rules”) regarding the

 retention by Deborah Piazza, chapter 7 Trustee (the “Trustee”) of Rhinoceros Visual Effects and

 Design LLC (“Rhino”), of RCT as special counsel to the Trustee.

           3.     On November 9, 2016, RCT was retained as special counsel in this case.

           4.     RCT has discovered that it represents two creditors of Rhino: Bank Hapoalim and

 Israel Discount Bank in matters unrelated to this case, and thus makes this supplemental

 disclosure.
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      5.       I believe that RCT remains eligible to serve as special counsel to the Trustee.

      SIGNED under penalty of perjury this 29th day of May, 2018.



                                                     _/s/ Angela J. Somers______
                                                     Angela J. Somers




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